               THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
             CRIMINAL CASE NO. 1:20-cr-00090-MR-WCM


UNITED STATES OF AMERICA,       )
                                )
                   Plaintiff,   )
                                )
          vs.                   )                              ORDER
                                )
                                )
SIVA K. DURBESULA,              )
                                )
                   Defendant.   )
_______________________________ )

      THIS MATTER is before the Court on the Defendant’s Motion to

Suppress-Miranda Violation [Doc. 18].

      On November 6, 2020, less than three days before the trial of this

matter, the Defendant filed his Motion to Suppress. [Doc. 18]. The deadline

for the filing of such pretrial motions, however, was October 21, 2020. [See

Scheduling Order entered September 21, 2020]. As such, this motion

appears to be untimely. On the face of the Defendant’s motion, the

Defendant acknowledges that the subject matter at issue does not appear to

be pertinent to the Government’s case-in-chief.1 [Doc. 18 at n.1].


1 The Court notes, however, that this issue may need to be revisited if the Government
goes forward with seeking to present evidence related to the subject matter at issue in
the Defendant’s motion.


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     IT IS THEREFORE, ORDERED that the Defendant’s Motion to

Suppress-Miranda Violation [Doc. 18] is DENIED.

     IT IS SO ORDERED.

                                 Signed: November 8, 2020




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